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UNITED STATES OF AN|ER|CA, WD O*" 444 N'EM”H!S

P|aintiff,
vs.

Cr. NO. 05-20128 - Ml
DEBORAH McGlNN|S

Defendant.

ORDER GRANT|NG DEFENDANT’S MOT|ON FOR EXTENS|ON OF TlN|E TO FlLE
ANY PRETR|AL MOT|ONS

For good cause shown, defendant Deborah McGinnis’ motion for extension of

time to file any pretrial motions is hereby GRANTED. The defendant Deborah |V|oGlnnis

Shal| file any pretrial motion on or before: Q?O OW\}> Q_HC.\ M@\AMU\ /\\:[,-_ww\

`;`_WW\ }<u___w___ A`T

it is so ORDERED, this the \_g day of June, 2005.

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JO PH|PPS McCALLA
ited States District Court Judge

   

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with Rule 55 and/or 32(b) FHCrP on

 

     

UNITED sTATE DRISTIC COUR - WSTERN D'S'TRCT oFTENNESSEE

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Honorable J on McCalla
US DISTRICT COURT

